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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER
 JACKSON,

                              Plaintiff,

                        v.                                 Civil Action No. 2:21-cv-00316

 WEST VIRGINIA STATE BOARD OF                              Hon. Joseph R. Goodwin
 EDUCATION, HARRISON COUNTY BOARD
 OF EDUCATION, WEST VIRGINIA
 SECONDARY SCHOOL ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent, DORA
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA,

                              Defendants,

                        and

 LAINEY ARMISTEAD,

                              Defendant-Intervenor.


        PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE EVIDENCE AND/OR
          ARGUMENT REGARDING PRESS REPORTS AND SUPPORTING
                         MEMORANDUM OF LAW

       Pursuant to Federal Rules of Evidence 401, 402, and 403, Plaintiff B.P.J., by and through

her next friend and mother, Heather Jackson, hereby moves the Court to exclude any press reports

regarding transgender women participating in national or international competitive athletics,

including at the college and professional level because those circumstances are wholly irrelevant

to Plaintiff’s as-applied challenge to the constitutionality of H.B. 3293. Indeed, none of these press

reports concerns B.P.J., West Virginia, H.B. 3293, or anything else material to the issues before

this Court. They are thus irrelevant and inadmissible.

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                                           ARGUMENT

       Defendant State of West Virginia and Defendant-Intervenor reference various media

reports regarding events supposedly showing the “displacement of women and girls in sports”

across the country by what they call “male athletes who identify as female.” (Dkt. No. 288 (Pl.

MSJ) at 2.) Those media pieces include: (i) stories from female professional athletes from the

1970s; (ii) efforts by international and professional sporting organizations to establish rules

regarding elite female competitions; (iii) the participation of transgender collegiate athletes outside

the state of West Virginia and subject to the NCAA’s governance; and (iv) the accomplishments

of two out-of-state transgender high school athletes from 2017–20. (Dkt. No. 287 (State MSJ) at

2 & n.1, 3 n.3, 5 & nn.6–7, 7–8 & nn.9–10; Dkt. No. 288 (Pl. MSJ) at 2–4 nn. 3–5.) None of these

events or athletes has any connection to West Virginia, Plaintiff, H.B. 3293, or any other issue

before this Court. Evidence or testimony related to these events—and press reports about them

particularly—would serve no legitimate purpose at trial and should be excluded on three grounds.

       First, the published media reports contain inadmissible hearsay and double-hearsay. For

example, the State quotes an article from online magazine Slate and a Fox News story. (Dkt. No.

287 (State MSJ) at 3 n.3; Dkt. No. 287 (State MSJ) at 8.) Both reports claim to quote third parties

and neither report contains a full transcript of the alleged conversation. Such statements constitute

inadmissible hearsay because they are (1) out of court statements “(2) . . . offer[ed] in evidence to

prove the truth of the matter asserted in the statement.” Fed. R. Evid. 801(c) (defining “hearsay”).

Indeed, media reports are routinely excluded as “inadmissible hearsay to the extent that they are

introduced ‘to prove the factual matters asserted therein.’” Gantt v. Whitaker, 57 F. App’x 141,

150 (4th Cir. 2003) (quoting United States v. ReBrook, 58 F.3d 961, 967 (4th Cir. 1995)); see also

Greene v. Scott, 637 F. App’x 749, 752 (4th Cir. 2016) (“Newspaper articles are rank hearsay”



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(quoting Nooner v. Norris, 594 F.3d 592, 603 (8th Cir. 2010))). The Court should likewise exclude

them here.

       Second, these articles have no bearing on Plaintiff’s case or any determination on the

legality of West Virginia’s prohibition against her participation in state-sponsored girls’ sports.

See Fed. R. Evid. 402 (“Evidence which is not relevant is not admissible.”); Fed. R. Evid. 401

(“Evidence is relevant if: (a) it has any tendency to make a fact more or less probable than it would

be without the evidence; and (b) the fact is of consequence in determining the action.”). The public

reports of competitions and the participation of transgender athletes outside of West Virginia are

irrelevant to the legality of H.B. 3293 and should be excluded. See, e.g., Sutphin v. Ethicon, Inc.,

No. 14 Civ. 1379, 2020 WL 5079170, at *9 (S.D.W. Va. Aug. 27, 2020) (noting agreement that

“evidence of media reports and/or documentaries that are critical of [the product] are . . . irrelevant

and inadmissible”); Mayne-Harrison v. Dolgencorp, Inc., No. 9 Civ. 42, 2010 WL 3717604, at

*17 (N.D.W. Va. Sept. 17, 2010) (striking articles as irrelevant).

       Third, the probative value of these published accounts—even if relevant and serving a

legitimate purpose (which they do not)—is “substantially outweighed by a danger of . . . unfair

prejudice, confusing the issues, misleading . . . undue delay, wasting time, or needlessly presenting

cumulative evidence.” Fed. R. Evid. 403. Specifically, if allowed, reports and other evidence

about these events would cloud the issues in this case and lead the fact finder down a path of

wasted time and irrelevancy; in contrast, prohibiting admission of these reports would eliminate

the prejudice from this improper evidence and related argument, while promoting the interests of

judicial economy and trial efficiency. See, e.g., CSX Transp., Inc. v. Gilkison, No. 5 Civ. 202,

2013 WL 85140, at *5 (N.D.W. Va. Jan. 7, 2013) (“This evidence involves findings other states

made that are not necessarily involved in this civil action. Even if it was relevant in some way, it



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is not admissible under Rule 403, as it raises problems of unfair prejudice and confusion . . . .

[T]he evidence has nothing to do with the matters here[.]”).

                                        CONCLUSION

       Accordingly, Plaintiff respectfully moves this Court to enter an Order excluding from trial

all evidence and argument regarding the press reports and other accounts of transgender athletes

and competitions unaffected by H.B. 3293.




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Dated: June 22, 2022                        Respectfully Submitted,
                                            /s/ Loree Stark
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                             Defendants,

                       and

 LAINEY ARMISTEAD,

                             Defendant-Intervenor.


                                CERTIFICATE OF SERVICE

       I, Loree Stark, do hereby certify that on this 22nd day of June, 2022, I electronically filed

a true and exact copy of the Plaintiff’s Motion in Limine to Exclude Evidence and/or Argument

Regarding Press Reports and Supporting Memorandum of Law with the Clerk of Court and all

parties using the CM/ECF System.


                                                    /s/ Loree Stark
                                                    Loree Stark
                                                    West Virginia Bar No. 12936



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